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 4
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 5    Beach District Surgery Center
 6

 7

 8                          UNITED STATES DISTRICT COURT

 9                   CENTRAL DISTRICT COURT OF CALIFORNIA
10

11    Beach District Surgery Center              Case No. 2:22-cv-01213-FMO-E
12                    Plaintiff,
                                                 First Amended Complaint for:
13          v.
                                                 1. NEGLIGENT
14    United Healthcare Services, Inc. and          MISREPRESENATION
      DOES 1-10
15
                      Defendant.
16                                               (Jury Trial Requested)
                                                 Total Damages - $1,000,000.00
17

18

19

20
           Plaintiff Beach District Surgery Center (hereinafter referred to as “Plaintiff”
21
     or “Medical Provider”) complains and alleges:
22
                                   GENERAL ALLEGATIONS
23
           1.     Plaintiff Medical Provider, is and at all relevant times was a medical
24
     corporation organized and existing under the laws of the State of California.
25
     Plaintiff is and at all relevant times was and is in good standing under the laws of
26
     the State of California.
27
           2.     United Healthcare Services, Inc. (hereinafter referred to as
28
     “DEFENDANT”) is and was licensed to do
                                         - 1 -business in and is and was doing
                                             Complaint
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 1   business in the State of California, as insurers. PLAINTIFF is informed and
 2   believes that DEFENDANT is licensed by the Department of Managed Health Care
 3   and/or the Department of Insurance to transact the business of insurance in the State
 4   of California. DEFENDANT is, in fact, transacting the business of insurance in the
 5   State of California and is thereby subject to the laws and regulations of the State of
 6   California.
 7          3.     The true names and capacities, whether individual, corporate,
 8   associate, or otherwise, of defendants DOES 1 through 10, inclusive, are unknown
 9   to PLAINTIFF, who therefore sues said defendants by such fictitious names.
10   PLAINTIFF is informed and believes and thereon alleges that each of the
11   defendants designated herein as a DOE is legally responsible in some manner for
12   the events and happenings referred to herein and legally caused injury and damages
13   proximately thereby to PLAINTIFF. PLAINTIFF will seek leave of this Court to
14   amend this Complaint to insert their true names and capacities in place and instead
15   of the fictitious names when they become known to it.
16          4.     At all times herein mentioned, unless otherwise indicated,
17   DEFENDANT/s were the agents and/or employees of each of the remaining
18   defendants, and were at all times acting within the purpose and scope of said
19   agency and employment, and each defendant has ratified and approved the acts of
20   his agent. At all times herein mentioned, DEFENDANT/s had actual or ostensible
21   authority to act on each other’s behalf in certifying or authorizing the provision of
22   services; processing and administering the claims and appeals; pricing the claims;
23   approving or denying the claims; directing each other as to whether and/or how to
24   pay claims; issuing remittance advices and explanations of benefits statements;
25   making payments to Plaintiff and its Patients1.
26
27   1
      For privacy reasons and in order to comply with Health Insurance Portability and Accountability
     Act (“HIPAA”), the full names, dates of treatment and policy information pertaining to the
28   Patient is being withheld. This information will be disclosed to defendants upon their request.
                                                     -2-
                                                  Complaint
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 1                                    GENERAL FACTS
 2         5.     All of the claims asserted in this complaint arise out of
 3   DEFENDANT’s oral and written communications to Plaintiff and Patients.
 4         6.     Plaintiff is and was informed based on DEFENDANT’s oral and
 5   written communications that the Patient was insured by DEFENDANT either as
 6   subscribers to coverage or dependents of a subscriber to coverage under a policy or
 7   certificate of insurance issued and underwritten by DEFENDANT and DOES 1
 8   through 10, inclusive, and each of them.
 9         7.     Plaintiff is and was informed that the Patient entered into a valid
10   insurance agreement with DEFENDANT for the specific purpose of ensuring that
11   they would have access to medically necessary treatments, care, procedures and
12   surgeries by medical practitioners like Plaintiff and ensuring that DEFENDANT
13   would pay for the health care expenses incurred by the Patient.
14         8.     Plaintiff is and was informed that DEFENDANT and DOES 1 through
15   10, inclusive, and each of them, received and continue to receive, valuable premium
16   payments from the Patient and/or other consideration from the Patient under the
17   subject policies applicable to the Patient.
18         9.     Procedures performed by Plaintiff on Patient are not merely for the
19   benefit of Patients, but, rather, for DEFENDANT as well. DEFENDANT receives
20   valuable premium payments from Patient that would cease to be made were Patient
21   unable to receive services from providers of medicine like Plaintiff. Additionally,
22   patient would seek out different insurers if they were unable to obtain the medical
23   services that they desired because of those insurers unwillingness to pay for said
24   medical services.
25         10.    Plaintiff and the doctors who performed surgeries or procedures upon
26   the Patient were “out-of-network providers” or “non-participating providers” who
27   had no preferred provider contracts or other such standing, written contracts with
28
                                               -3-
                                             Complaint
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 1   DEFENDANT setting their rates of pay for services rendered, prior to the date that
 2   the surgeries or procedures were performed upon the Patient.
 3         11.    Plaintiff did and does have an agreement with a complementary
 4   network called Multiplan.
 5         12.    According to the agreement, Plaintiff is to be paid 93% of its billed
 6   charges for any and all services. “Outpatient Service Percentage of Billed Charges
 7   Contract Rate. Except as otherwise specified herein, the Contract Rate for
 8   Outpatient Services shall be equal to ninety three (93%) percent of Facility’s Billed
 9   Charges, less any co-payment, Deductible, and/or Co-insurance, if any, specified in
10   the Participant’s Benefit Program.”
11         13.    There are instances in which Multiplan or a medical provider will
12   create a list of payors of insurance to exclude from using a Multiplan agreement.
13         14.    Plaintiff negotiated the Multiplan agreement but as Plaintiff found the
14   terms of the agreement acceptable in all instances, Plaintiff did not ask for the
15   agreement to not apply to certain payors.
16         15.    Multiplan also never represented that there would be any limitation on
17   the applicability of the agreement.
18         16.    Multiplan at all times represented to Plaintiff that it should look out for
19   the symbol on patient insurance cards as the symbol would be a representation from
20   a payor of insurance to patients and Plaintiff that the payor of insurance was going
21   to process Plaintiff’s medical bill in accordance with the Multiplan agreement.
22         17.    Multiplan is utilized by a number of insurers including DEFENDANT
23   to help reduce medical costs to patients.
24         18.    Defendant did and does have an agreement with Multiplan.
25         19.    Defendant did and does have a longstanding relationship with
26   Multiplan. “UHC is an extraordinary customer and partner of Multiplan. For nearly
27   30 years, MultiPlan and UHC have worked together to reduce healthcare costs for
28
                                               -4-
                                             Complaint
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 1   millions of Americans and their employers, utilizing MultiPlan’s unique set of
 2   technologies, independent industry-wide information and proprietary network.”2
 3         20.    There are many examples of insurance cards provided by Defendant
 4   that do not have a Multiplan symbol on them. However, in the case where
 5   DEFENDANT utilizes the Multiplan Network, Defendant will display an insignia
 6   or symbol for Multiplan on the back of DEFENDANT’s insurance cards.
 7         21.    When such a symbol is present, a Patient knows that if their medical
 8   provider accepts Multiplan the Patient will be receiving care from what amounts to
 9   a Network medical provider, Plaintiff knows that they will be getting paid
10   according to the rate they negotiated with the Multiplan Network and
11   DEFENDANT intends that Patient and Plaintiff know that if the Plaintiff accepts
12   Multiplan and does not have another contract with DEFENDANT then
13   DEFENDANT will make payment to Plaintiff according to Plaintiff’s Multiplan
14   Agreement.
15         22.    DEFENDANT and or Multiplan without objection from
16   DEFENDANT have advertised to patients and medical providers throughout the
17   country that when a patient or medical provider sees the symbol for Multiplan on a
18   patient’s insurance card the patient and medical provider can be assured that the
19   medical provider’s Multiplan agreement will be utilized providing benefits to all
20   parties, patient, medical provider and insurer.
21         23.    At no time has DEFENDANT ever expressed that it would no longer
22   be utilizing the Multiplan Network in the fashion advertised by Multiplan and or
23   DEFENDANT.
24

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           2
              Multiplan.us, Multiplan Corporation Releases Stockholder Update,
27   https://www.multiplan.us/multiplan-corporation-releases-stockholder-
     update/#:~:text=UHC%20is%20an%20extraordinary%20customer,wide%20information%20and
28   %20proprietary%20network.
                                                   -5-
                                                 Complaint
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 1         24.    Medical Provider provided medical facilities for no less than 67
 2   medical procedures for Patient’s whose insurance card prominently displayed a
 3   Multiplan symbol.
 4         25.    Prior to performing each procedure, each Patient would provide to
 5   Medical Provider a copy of Patient’s insurance card.
 6         26.    For the claims at issue in this suit, on each insurance card was
 7   prominently displayed a symbol for Defendant and a symbol for Multiplan.
 8         27.    By putting the Multiplan symbol on the same insurance card bearing
 9   DEFENDANT’s symbol, DEFENDANT intended that Medical Provider and each
10   Patient would believe that DEFENDANT utilized the Multiplan network and would
11   make payment utilizing the Multiplan Network.
12         28.    Plaintiff Medical Provider reviewed each Patient’s insurance card and
13   based on the Multiplan symbol found on the insurance card determined to provide
14   medical services to each Patient with the understanding that DEFENDANT would
15   compensate Medical Provider in accordance with Medical Provider’s Multiplan
16   Agreement.
17         29.    Medical Provider then called Defendant to confirm that Defendant
18   utilizes Multiplan to pay for the claims.
19         30.    For all 67 claims, at no time on any call did Defendant state that it
20   would not be paying for services in accordance with Multiplan.
21         31.    Medical Provider relied and provided services based solely on
22   DEFENDANT’s representation on Patient’s insurance card and verifications that
23   Multiplan would be utilized in determining how Medical Provider would be paid.
24         32.    Following each procedure, Medical Provider submitted to
25   DEFENDANT any and all billing information required by DEFENDANT.
26         33.    Defendant processed each of Medical Provider’s claims but failed to
27   make proper payment in accordance with Plaintiff’s Multiplan contract.
28
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                                             Complaint
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 1          34.     Plaintiff then appealed to Defendant to obtain proper payment in
 2   accordance with Plaintiff’s Multiplan contract.
 3          35.     In many instances Defendant adjusted the amount paid, but in all
 4   instances Defendant still refused to make the appropriate payment.
 5          36.     As of the date of this complaint, DEFENDANT has still refused to
 6   make the appropriate payment to Medical Provider and Medical Provider is entitled
 7   to that payment from DEFENDANT.
 8
                                          SPECIFIC FACTS3
 9
                                           Example Patient A
10
            37.     On March 19, 2020, Patient A received a surgery at Plaintiff’s medical
11
     facility.
12
            38.     On March 17, 2020, prior to providing medical services, Plaintiff
13
     received a copy of the insurance card specifically provided by Defendant to Patient
14
     to be shown to Plaintiff and other medical providers upon seeking medical services.
15
            39.     Prominently displayed on insurance card is and was a symbol for
16
     Multiplan.
17
            40.     Defendant’s purpose in displaying the symbol was to communicate to
18
     Plaintiff and other medical providers that if Plaintiff or the medical provider had an
19
     agreement with Multiplan, Defendant would utilize that agreement in processing
20
     and paying for the medical services provided to Patient A.
21
            41.     Plaintiff had and has an agreement with Multiplan and so Plaintiff
22
     determined to provide medical services to Patient A, trusting Defendant’s
23
     representation that Plaintiff’s Multiplan agreement is the manner in which
24
     Defendant pays for the medical services received by Patient A.
25

26
27
            3
              Plaintiff provides specific facts for five examples which are representative of the 67
28   claims at issue.
                                                        -7-
                                                     Complaint
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 1         42.    Out of an abundance of caution, on March 17, 2020, Plaintiff also
 2   called Defendant to determine the manner in which Defendant pays for medical
 3   services provided to Patient A.
 4         43.    Plaintiff’s representative V. Collier spoke with Defendant’s
 5   representative Patricia.
 6         44.    The reference number for the call was 2224.
 7         45.    During the call, Plaintiff asked does Defendant utilize the Multiplan
 8   Network?
 9         46.    Defendant responded that it does utilize the Multiplan Network.
10         47.    During the call, Plaintiff asked what is Defendant’s payment
11   responsibilities versus Patient A’s responsibilities?
12         48.    Defendant responded that for in-network medical services the
13   deductible is and was $0.00. The max out of pocket is $3,000 and until the max out
14   of pocket has been met, Patient A has a co-pay of $100.00 for each medical service
15   received. The remainder of what is owed to Plaintiff will be paid by Defendant.
16         49.    Defendant represented that Patient A had paid nothing and so Patient
17   A would be responsible for the $100.00 co-payment.
18         50.    All of the information obtained was documented by Plaintiff as part of
19   Plaintiff’s office policy and practice.
20         51.    At no time prior to the provision of services to Patient A by Plaintiff
21   was Plaintiff advised that Patient’s policy or certificate of insurance was subject to
22   certain exclusions, limitations or qualifications, which might result in denial of
23   coverage, limitation of payment or any other method of payment unrelated to
24   payment according to Plaintiff’s Multiplan agreement.
25         52.    DEFENDANT did not make reference to any other portion of Patient’s
26   plan that would put Plaintiff on notice of the fact that Defendant would not utilize
27   the applicable Multiplan agreement.
28
                                                 -8-
                                               Complaint
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 1          53.   Despite representing both on the insurance card and then again on the
 2   telephone that the payment method is and was based on Plaintiff’s Multiplan
 3   agreement, DEFENDANT knew or should have known that it would not be paying
 4   Medical Provider based on the Multiplan Agreement.
 5          54.   Plaintiff relied and provided services solely based on the insurance
 6   card Defendant provided to Patient to be shown to Plaintiff, as well as Defendant’s
 7   statements that Multiplan would be used (or the absence of statements that
 8   Multiplan would not be used). Plaintiff took DEFENDANT at its word and
 9   promises and provided services based solely on those promises and representations.
10          55.   Plaintiff submitted to DEFENDANT any and all billing information
11   required by DEFENDANT, including a bill for $31,897.44.
12          56.   Following the procedure, Plaintiff submitted its claims to
13   DEFENDANT accompanied with lengthy operative reports, chart notes, and other
14   medical records. No matter whether large or small, all of Plaintiff’s claims were
15   submitted to DEFENDANT using CPT codes, Healthcare Common Procedure
16   Coding System (“HCPCS”), and modifiers, as necessary. Plaintiff submitted to
17   DEFENDANT any and all billing information and any and all additional
18   information requested by DEFENDANT.
19          57.   DEFENDANT processed the bill and made a payment of $0.00.
20          58.   Defendant failed to make payment in accordance with the
21   representations and promises it made to Plaintiff that the manner of payment would
22   be based on Plaintiff’s Multiplan Agreement.
23          59.   As of the date of this complaint, DEFENDANT has still refused to
24   make the appropriate payment to Plaintiff and Plaintiff is entitled to that payment
25   from DEFENDANT.
26
                                     Example Patient B
27
            60.   On August 11, 2020, Patient B received a surgery at Plaintiff’s medical
28
     facility.                                -9-
                                            Complaint
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  1         61.    On August 5, 2020, prior to providing medical services, Plaintiff
  2   received a copy of the insurance card specifically provided by Defendant to Patient
  3   to be shown to Plaintiff and other medical providers upon seeking medical services.
  4         62.    Prominently displayed on insurance card is and was a symbol for
  5   Multiplan.
  6         63.    Defendant’s purpose in displaying the symbol was to communicate to
  7   Plaintiff and other medical providers that if Plaintiff or the medical provider had an
  8   agreement with Multiplan, Defendant would utilize that agreement in processing
  9   and paying for the medical services provided to Patient B.
 10         64.    Plaintiff had and has an agreement with Multiplan and so Plaintiff
 11   determined to provide medical services to Patient B, trusting Defendant’s
 12   representation that Plaintiff’s Multiplan agreement is the manner in which
 13   Defendant pays for the medical services received by Patient B.
 14         65.    Out of an abundance of caution, on August 5, 2020, Plaintiff also
 15   called Defendant to determine the manner in which Defendant pays for medical
 16   services provided to Patient B.
 17         66.    Plaintiff’s representative K. Ceja spoke with Defendant’s
 18   representative Sid.
 19         67.    The reference number for the call was 1638.
 20         68.    During the call, Plaintiff asked does Defendant utilize the Multiplan
 21   Network?
 22         69.    Defendant responded that it does utilize the Multiplan Network.
 23         70.    During the call, Plaintiff asked what is Defendant’s payment
 24   responsibilities versus Patient B’s responsibilities?
 25         71.    Defendant responded that for in-network medical services the
 26   deductible is and was $3,000.00. The max out of pocket is $5,000 and until the max
 27   out of pocket has been met, Patient B would be responsible for 10% of the
 28   contracted rate and Defendant would be responsible for 90%. Once Patient B had
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                                              Complaint
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  1   met its max out of pocket it, Defendant would be responsible for 100% of the
  2   contracted rate.
  3         72.    Defendant represented that Patient had already paid $3,000.
  4         73.    All of the information obtained was documented by Plaintiff as part of
  5   Plaintiff’s office policy and practice.
  6         74.    At no time prior to the provision of services to Patient B by Plaintiff
  7   was Plaintiff advised that Patient’s policy or certificate of insurance was subject to
  8   certain exclusions, limitations or qualifications, which might result in denial of
  9   coverage, limitation of payment or any other method of payment unrelated to
 10   payment according to Plaintiff’s Multiplan agreement.
 11         75.    DEFENDANT did not make reference to any other portion of Patient
 12   B’s plan that would put Plaintiff on notice of the fact that Defendant would not
 13   utilize the applicable Multiplan agreement.
 14         76.    Despite representing both on the insurance card and then again on the
 15   telephone that the payment method is and was based on Plaintiff’s Multiplan
 16   agreement, DEFENDANT knew or should have known that it would not be paying
 17   Medical Provider based on the Multiplan Agreement.
 18         77.    Plaintiff relied and provided services solely based on the insurance
 19   card Defendant provided to Patient to be shown to Plaintiff, as well as Defendant’s
 20   statements that Multiplan would be used (or the absence of statements that
 21   Multiplan would not be used). Plaintiff took DEFENDANT at its word and
 22   promises and provided services based solely on those promises and representations.
 23         78.    Plaintiff submitted to DEFENDANT any and all billing information
 24   required by DEFENDANT, including a bill for $10,200.00.
 25         79.    Following the procedure, Plaintiff submitted its claims to
 26   DEFENDANT accompanied with lengthy operative reports, chart notes, and other
 27   medical records. No matter whether large or small, all of Plaintiff’s claims were
 28   submitted to DEFENDANT using CPT codes, Healthcare Common Procedure
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                                                Complaint
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  1   Coding System (“HCPCS”), and modifiers, as necessary. Plaintiff submitted to
  2   DEFENDANT any and all billing information and any and all additional
  3   information requested by DEFENDANT.
  4          80.   DEFENDANT processed the bill and made a payment of $482.45.
  5          81.   Defendant failed to make payment in accordance with the
  6   representations and promises it made to Plaintiff that the manner of payment would
  7   be based on Plaintiff’s Multiplan Agreement.
  8          82.   As of the date of this complaint, DEFENDANT has still refused to
  9   make the appropriate payment to Plaintiff and Plaintiff is entitled to that payment
 10   from DEFENDANT.
 11
                                       Example Patient C
 12
             83.   On May 1, 2020, Patient A received a surgery at Plaintiff’s medical
 13
      facility.
 14
             84.   On April 29, 2020, prior to providing medical services, Plaintiff
 15
      received a copy of the insurance card specifically provided by Defendant to Patient
 16
      to be shown to Plaintiff and other medical providers upon seeking medical services.
 17
             85.   Prominently displayed on insurance card is and was a symbol for
 18
      Multiplan.
 19
             86.   Defendant’s purpose in displaying the symbol was to communicate to
 20
      Plaintiff and other medical providers that if Plaintiff or the medical provider had an
 21
      agreement with Multiplan, Defendant would utilize that agreement in processing
 22
      and paying for the medical services provided to Patient C.
 23
             87.   Plaintiff had and has an agreement with Multiplan and so Plaintiff
 24
      determined to provide medical services to Patient C, trusting Defendant’s
 25
      representation that Plaintiff’s Multiplan agreement is the manner in which
 26
      Defendant pays for the medical services received by Patient C.
 27

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                                               - 12 -
                                             Complaint
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  1         88.    Out of an abundance of caution, on April 29, 2020, Plaintiff also called
  2   Defendant to determine the manner in which Defendant pays for medical services
  3   provided to Patient C.
  4         89.    Plaintiff’s representative K. Ceja spoke with Defendant’s
  5   representative Patricia.
  6         90.    The reference number for the call was 2224.
  7         91.    During the call, Plaintiff asked does Defendant utilize the Multiplan
  8   Network?
  9         92.    Defendant responded that it does utilize the Multiplan Network.
 10         93.    During the call, Plaintiff asked what is Defendant’s payment
 11   responsibilities versus Patient C’s responsibilities?
 12         94.    Defendant responded that for in-network medical services the
 13   deductible is and was $0.00. The max out of pocket is $3,000 and until the max out
 14   of pocket has been met, Patient A has a co-pay of $100.00 for each medical service
 15   received. The remainder of what is owed to Plaintiff will be paid by Defendant.
 16         95.    All of the information obtained was documented by Plaintiff as part of
 17   Plaintiff’s office policy and practice.
 18         96.    At no time prior to the provision of services to Patient C by Plaintiff
 19   was Plaintiff advised that Patient’s policy or certificate of insurance was subject to
 20   certain exclusions, limitations or qualifications, which might result in denial of
 21   coverage, limitation of payment or any other method of payment unrelated to
 22   payment according to Plaintiff’s Multiplan agreement.
 23         97.    DEFENDANT did not make reference to any other portion of Patient’s
 24   plan that would put Plaintiff on notice of the fact that Defendant would not utilize
 25   the applicable Multiplan agreement.
 26         98.    Despite representing both on the insurance card and then again on the
 27   telephone that the payment method is and was based on Plaintiff’s Multiplan
 28
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                                                Complaint
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  1   agreement, DEFENDANT knew or should have known that it would not be paying
  2   Medical Provider based on the Multiplan Agreement.
  3         99.    Plaintiff relied and provided services solely based on the insurance
  4   card Defendant provided to Patient to be shown to Plaintiff, as well as Defendant’s
  5   statements that Multiplan would be used (or the absence of statements that
  6   Multiplan would not be used). Plaintiff took DEFENDANT at its word and
  7   promises and provided services based solely on those promises and representations.
  8         100. Plaintiff submitted to DEFENDANT any and all billing information
  9   required by DEFENDANT, including a bill for $15,300.00.
 10         101. Following the procedure, Plaintiff submitted its claims to
 11   DEFENDANT accompanied with lengthy operative reports, chart notes, and other
 12   medical records. No matter whether large or small, all of Plaintiff’s claims were
 13   submitted to DEFENDANT using CPT codes, Healthcare Common Procedure
 14   Coding System (“HCPCS”), and modifiers, as necessary. Plaintiff submitted to
 15   DEFENDANT any and all billing information and any and all additional
 16   information requested by DEFENDANT.
 17         102. DEFENDANT processed the bill and made a payment of $108.40.
 18         103. Defendant failed to make payment in accordance with the
 19   representations and promises it made to Plaintiff that the manner of payment would
 20   be based on Plaintiff’s Multiplan Agreement.
 21         104. As of the date of this complaint, DEFENDANT has still refused to
 22   make the appropriate payment to Plaintiff and Plaintiff is entitled to that payment
 23   from DEFENDANT.
 24
                                FIRST CAUSE OF ACTION:
 25
                        FOR NEGLIGENT MISREPRESENTATION
 26
            105. Plaintiff incorporates by reference all previous paragraphs as though
 27
      fully set forth herein.
 28
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                                             Complaint
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  1           106. DEFENDANT provided Patient with an insurance card with clearly
  2   displayed a Multiplan insignia.
  3           107. DEFENDANT represented through this insignia and emblem which
  4   DEFENDANT intentionally chose to put on its insurance card that DEFENDANT
  5   would utilize the Multiplan Network.
  6           108. DEFENDANT placed the insignia and emblem on an obvious portion
  7   of the insurance card so that both Patient and Medical Provider would see the
  8   emblem and know that Multiplan would be utilized in the payment of any bill
  9   submitted by Medical Provider.
 10           109. Despite the clear intent put forth by DEFENDANT by displaying the
 11   Mutliplan insignia and emblem, DEFENDANT did not pay Plaintiff in accordance
 12   with Plaintiff’s Multiplan Agreement.
 13           110. DEFENDANT knew or could have been reasonably sure that it was
 14   never going to pay Medical Provider appropriately under Medical Provider’s
 15   Multiplan agreement, despite the clear intent shown by DEFENDANT in
 16   displaying the insignia and emblem on each Patient/DEFENDANT’s insurance
 17   card.
 18           111. Medical Provider justifiably relied on DEFENDANT’s placement of a
 19   Multiplan emblem as a statement that DEFENDANT would be paying Medical
 20   Provider’s bill pursuant to Medical Provider’s Multiplan agreement as that is the
 21   common practice of insurers like DEFENDANT in the industry when displaying a
 22   Multiplan emblem or insignia on their insurance card.
 23           112. Medical Provider has been damaged in being paid far less than the
 24   93% of billed charges owed to Medical Provider under Medical Provider’s
 25   Multiplan agreement.
 26           113. In light of DEFENDANT’s misrepresentation as to the use of a
 27   Multiplan agreement in paying for medical bills and of Medical Provider’s reliance
 28   thereon DEFENDANT was obligated to Medical Provider at 93% of Medical
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  1   Provider’s billed charges with interest pursuant to Medical Provider’s Multiplan
  2   agreement. An amount no less than $1,000,000 but the total amount to be
  3   determined at the time of trial.
  4
      ///
  5
      ///
  6
      ///
  7
      ///
  8
      ///
  9
      ///
 10
      ///
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                                            Complaint
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  1   ///
  2                                PRAYER FOR RELIEF
  3         WHEREFORE, Beach District Surgery Center prays for judgment against
  4   defendants as follows:
  5         1.     For compensatory damages in an amount to be determined, plus
  6   statutory interest but no less than $1,000,000;
  7         2.     For restitution in an amount to be determined, plus statutory interest;
  8         3.     For a declaration that DEFENDANT is obligated to pay plaintiff all
  9   monies owed for services rendered to each Patient
 10         4.     For punitive damages; and
 11         5.     For such other relief as the Court deems just and appropriate
 12
      .
 13   Dated: May 20, 2022                    LAW OFFICES OF JONATHAN A.
 14                                          STIEGLITZ

 15                                          By: /s/Jonathan Stieglitz
 16                                              JONATHAN A. STIEGLITZ
                                                 Attorneys for Plaintiff, Beach District
 17                                              Surgery Center
 18

 19

 20
 21                             DEMAND FOR JURY TRIAL

 22
            Plaintiff, Beach District Surgery Center hereby demands a jury trial as

 23
      provided by law.

 24
      Dated: May 20, 2022                    LAW OFFICES OF JONATHAN A.
 25                                          STIEGLITZ
 26
                                             By: /s/Jonathan Stieglitz
 27                                              JONATHAN A. STIEGLITZ
 28                                              Attorneys for Plaintiff, Beach District
                                                 Surgery
                                              - 17 -      Center
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